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                      Exhibit B
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DATE OF TRANSLATION:                    12-Apr-2022
ELECTRONIC FILE NAME:                   8.仲裁委关于送达的说明及对方授权-20201111 (003)
SOURCE LANGUAGE:                        Chinese
TARGET LANGUAGE:                        English (United States)
TRANSPERFECT JOB ID:                    US1278961

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TCert v. 4.0
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        CHINA INTERNATIONAL ECONOMIC AND TRADE
                 ARBITRATION COMMISSION
              CHINA INTERNATIONAL ECONOMIC AND TRADE
                       ARBITRATION COMMISSION
Address: 6/F CCOIC Building, 2 Huapichang          Add: 6/F CCOIC Building, 2 Huapichang Hutong, Xicheng
Hutong, Xicheng District, Beijing, China              District, Beijing, 100035, P. R. China
Zip code: 100035
Tel: (86-10) 82217788                              Tel: (86-10) 82217788
Fax: (86-10) 82217766, 64643500                    Fax: (86-10) 82217766, 64643500
Email: info@cietac.org                             E-mail: info@cietac.org


                                                (2020) China Mao Zhong Jing Zi No. 104700

                         Re: No. S20200960 Dispute of Capital Increase Agreement

  The first claimant    Huzhou Chuangtai Rongyuan Investment Management Partnership
  (Limited Partnership)
  The second claimant Huzhou Huihengying Equity Investment Partnership (Limited
  Partnership)
  The third claimant Huzhou Huirongsheng Equity Investment Partnership (Limited
  Partnership)
  Arbitration agent Zheng Wei, Fang Mei, Li Zheng, Qu Chenxi, Zhu Huayi, Sun Qimin

  The first respondent Shenzhen Xingmei Shengdian Culture Media Group Co., Ltd.
  Arbitration agent Liu Fang, Qiu Xinwei

  The second respondent     Qin Hui
  Arbitration agent Liu Fang, Qiu Xinwei

  The third respondent        SMI International Cinemas Ltd.

  The fourth respondent       Run Yun Chengdu Culture Communication Co., Ltd.:

         Regarding the titled arbitration of dispute, the Court of Arbitration received on Nov. 11,
  2020 the Application for Resending Arbitration Documents and Scheduling of Court Date,
  Power of Attorney, Business License (Copy), and Identification Certificate of Legal
  Representative submitted by the first respondent and the second respondent. The Court of
  Arbitration hereby forwards one copy to each applicant. Please find the attachments.
         As to the missing documents mentioned by the first respondent and the second respondent
  in the above mentioned applications, the Court of Arbitration hereby makes below notification
  regarding preliminary delivery procedures and subsequent arrangement of the case:
         1. On May 26, 2020, the Court of Arbitration sent the Arbitration Notices (2020) China
  Mao Zhong Jing Zi No. 044222 and No. 044254 and the attachments of this case by Express
  Mail Service to the four respondents pursuant to the addresses of respondents indicated in
  Application for Arbitration by claimants. The mail sent to the first respondent was delivered, but
  the mails sent to the second, third, and fourth respondents were returned successively by Post
  Office.




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       2. The Court of Arbitration informed the claimants on Jun. 9, 2020 and Jun. 15, 2020 in
writing of the rejection, and requested the claimants to inquire in a reasonable manner about the
addresses of the second, third and fourth respondents as soon as possible pursuant to the
Arbitration Rules.
       3. The Court of Arbitration received claimants’ Confirmation Letters respectively dated
Jun. 12, 2020 and Jun. 16, 2020, wherein the address for service of the second respondent is
confirmed as: “To: Peng Yun, No. 9 Xiangjunbeili, Hujialou, Chaoyang District, Beijing,
Tel:               ”, or “To: Qin Hui,
                                Tel:               ”, and the address for service of the fourth
respondent is confirmed as: “To: Peng Yun, No.9 Xiangjunbeili, Hujialou, Chaoyang District,
Beijing, Tel:               ”, and the address for service of the third respondent is confirmed as:
“Xingmei International Building, No.9 Xiangjunbeili, Hujialou, Chaoyang District, Beijing”.
       4. The Court of Arbitration sent the Arbitration Notices and other documents of this
case by Express Mail Service again to the second, third and fourth respondents pursuant to the
addresses of respondents as confirmed by claimants. The documents mailed to the second
respondent in the address of
                 ” was returned, and the documents mailed to the address of “No.9 Xiangjunbeili,
Hujialou, Chaoyang District, Beijing” were delivered. The documents mailed to the addresses
of the third and fourth respondents were all delivered.
       5. Therefore, the Court of Arbitration informed the respondents on Jul. 21, 2020 that the
Court of Arbitration shall serve relevant documents and materials of this case to the respondents
pursuant to the following addresses and contact information in the subsequent arbitration
procedures:

       The first            Shenzhen Xingmei Shengdian Culture Media Group Co., Ltd.
       respondent:
       Address for service: 18-20/F, Building of Cultural Industry Headquarters, Futian Sports
                            Park, No. 3030, Fuqiang Road, Futian District, Shenzhen

       Contact person and Tang Yueyun / Person in charge
       telephone number:

       The second
       respondent:          Qin Hui
       Address for service: No.9 Xiangjunbeili, Hujialou, Chaoyang District, Beijing
       Contact person and Peng Yun
       telephone number:
       The third
       respondent:          SMI International Cinemas Ltd.
       Address for service: Xingmei International Building, No. 9 Xiangjunbeili, Hujialou,
                            Chaoyang District, Beijing
       Contact person and Legal representative/person in charge
       telephone number:

       The fourth            Run Yun Chengdu Culture Communication Co., Ltd.
       respondent:
       Address for service: No. 9 Xiangjunbeili, Hujialou, Chaoyang District, Beijing




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       Contact person and
       telephone number: Peng Yun

       6. On Aug. 24, 2020, the Court of Arbitration sent Notice of Constitution of Arbitral
Tribunal, Notice of Court Session and (2020) China Mao Zhong Jing Zi No. 084978 Notice of
Proceedings to the mentioned addresses of the first, second, third, and fourth respondents. All
documents above have been delivered.
       7. On Sept. 25, 2020, the Court of Arbitration sent Notice of Adjournment to the
mentioned addresses of the first, second, third, and fourth respondents. All documents above
have been delivered.
       8. On Oct. 21, 2020, the Court of Arbitration sent the Notice of Replacement of
Arbitrator and (2020) China Mao Zhong Jing Zi No. 098255 Notice of Court Session to the
mentioned addresses of the first, second, third, and fourth respondents. All documents above
have been delivered.
       In conclusion, the Court of Arbitration has effectively served all documents and materials
of this case to the claimants and the respondents pursuant to provisions of Article Eight of
Arbitration Rules.

       9. Regarding the Application for Resending Arbitration Documents and Scheduling of
Court Date submitted by the first respondent and the second respondent, the Court of Arbitration
hereby resends a copy of the mentioned documents (including the Arbitration Notice and
attachments, Notice of Constitution of Arbitral Tribunal and attachments, Notice of Court
Session, Notice of Related Proceedings, and Notice of Adjournment) to the respondents
according to the actual situation of the case and in order to facilitate the respondent to participate
in the arbitration procedure. Please find the attached documents. However, the act of resending
does not represent re-service to the respondents.
       10. The Court of Arbitration hereby informs the respondents that: The respondents are
required to submit written arguments and relevant evidence materials within 20 days upon
receipt of this letter; meanwhile, respondents’ counterclaim, if any, shall also be submitted
within the period. The evidence materials to be submitted by both parties in this case shall also
be submitted in writing within 20 days upon receipt of this letter.

      Hereby notified.


                                                                                      Nov. 11, 2020
               [seal:] CHINA INTERNATIONAL ECONOMIC AND TRADE ARBITRATION COMMISSION
                                                                       Court of Arbitration
                                                                          1100000156402
Attachments: As indicated
Cc: Chief arbitrator Sun Xiaomin
         Arbitrators Liu Lanfang, Li Yong




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